                   UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                          NORTHERN DIVISION

In the Matter of:                              }
LINA HILL                                      }        CASE NO. 18-82774-CRJ-13
SSN: XXX-XX-0768                               }
                                               }        CHAPTER 13
                                               }
                      Debtor.                  }

LINA HILL                                      }        AP NO. 19-80011-CRJ-13
                                               }
                      Plaintiff,               }
v.                                             }
                                               }
BANK OF AMERICA and                            }
CARRINGTON MORTGAGE                            }
SERVICES, LLC                                  }
               Defendants.                     }



                        ORDER OF REFERRAL TO MEDIATION

       On August 21, 2019, the Court held a Status Conference in the above-captioned Adversary

Proceeding. Appearing at the hearing were John Larsen, Esq., and Kevin Heard, Esq., counsel for

the Plaintiff; Kevin C. Gray, Esq., counsel for Bank of America; Christopher A. Bottcher, Esq.,

counsel for Carrington Mortgage Services, LLC; and Richard Blythe, Esq., counsel for the

Bankruptcy Administrator.

        During the hearing, the Court determined that this Adversary Proceeding is appropriate

for mediation and the parties agreed to participate in mediation following discovery. The parties

further agreed that mediation of this Adversary Proceeding should be conducted concurrently with

mediation in a related Adversary Proceeding styled Breach v. Carrington Mortgage Services, LLC

and Bank of America, AP No. 18-80089-CRJ-13.

       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED as follows:




Case 19-80011-CRJ       Doc 57     Filed 08/27/19 Entered 08/27/19 09:07:25           Desc Main
                                   Document     Page 1 of 2
       1.      J. Thomas Corbett, Esq., is appointed as Mediator in this Adversary Proceeding.

       2.      The Mediator shall begin mediation on or after September 16, 2019. The parties
               shall contact the Mediator within ten (10) days to schedule the date for the
               mediation.

       3.      Each party must have a representative attend the mediation. The representative
               must have complete and unrestricted authority to settle the matter. The
               representative attending the mediation must not have need to obtain further or
               additional settlement authority from anyone not attending the mediation.

       4.      The Mediator shall file a Final Status Report with the Court stating that mediation
               is completed and whether settlement was reached within three (3) days of
               completing mediation.


Dated this the 27th day of August, 2019.

                                                    /s/ Clifton R. Jessup, Jr.
                                                    Clifton R. Jessup, Jr.
                                                    United States Bankruptcy Judge




Case 19-80011-CRJ       Doc 57     Filed 08/27/19 Entered 08/27/19 09:07:25           Desc Main
                                   Document     Page 2 of 2
